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																							Opinion and Summaries

											
					
				

													
			
		
	


						
				

					
			2020 OpinionsWeb Editor2020-08-24T07:27:57-04:00
			
			
				DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.
August
August 24, 2020

S20A0642. CAMPBELL-WILLIAMS v. THE STATE
S20A0709. HODGES v. THE STATE
S20A0727. CLAY v. THE STATE
S20A0855. HARRIS v. THE STATE
S20A0863. PERRY v. THE STATE
S20A0865. KIM v. THE STATE
S20A0873. ANDERSON v. THE STATE
S20A0895. BROOKS v. THE STATE
S20A0988. ROBERTS v. THE STATE
S20A1005. REEVES v. THE STATE
S20A1024. STUDIVANT v. THE STATE
S20Q0843. SYNOVUS BANK d/b/a FIRST COMMUNITY BANK OF TIFTON v. KELLEY

August
August 10, 2020 – SUMMARIES for NOTEWORTHY&nbsp;OPINIONS

S20A0580. RINGOLD v. THE STATE
S20A0583. STEPHENS v. THE STATE
S20A0633, S20X0634. THE STATE v. GRIER (and vice versa)
S20A0648. THE STATE v. HINTON
S20A0668. STYLES v. THE STATE
S20A0688. CLARK v. THE STATE
S20A0713. BLACKSHEAR v. THE STATE
S20A0717. CROSS v. THE STATE
S20A0721. THOMAS v. THE STATE
S20A0725. HOOD v. THE STATE
S20A0726. AGEE v. THE STATE
S20A0739. McDOWELL v. THE STATE
S20A0766. RUTLEDGE v. THE STATE
S20A0780. REYES v. THE STATE
S20A0782. BROWN v. THE STATE
S20A0789. GRIFFIN V. THE STATE
S20A0804. HILL v. THE STATE
S20A0852. POWELL v. THE STATE
S20A0859. YOUNG v. THE STATE
S20A0874. RODRIGUEZ v. THE STATE
S20A0943. MILLER v. THE STATE
S20A0946. HEYWARD v. THE STATE
S20A0966. FINNISSEE v. THE STATE
S20A1006. GIBBS v. THE STATE
S20A1021. CLARK v. THE STATE
S20A1027. ARNOLD v. THE STATE
S20G0123. SANCHIOUS v. THE STATE
S20Y1265. IN THE MATTER OF VINCENT CHIDOZIE OTUONYE
S20Y0869. IN THE MATTER OF ELIZABETH VILA ROGAN

July
July 15, 2020

S20Y0637. IN THE MATTER OF NEIL RICHARD FLIT

July
July 2, 2020

S20A0035. DAVENPORT v. THE STATE

July
July 1, 2020

S19G0852. MIDDLETON v. THE STATE
S20A0196. LOFTON v. THE STATE
S20A0441. CALMER v. THE STATE
S20A0470. POUNDS v. THE STATE

June
June 29, 2020 – SUMMARIES for NOTEWORTHY&nbsp;OPINIONS

S19G0494, S19G0496. BOWDEN v. THE MEDICAL CENTER (and vice versa)
S20A0013. NELSON v. WILKEY
S20A0078. WILLIAMS v. THE STATE
S20A0088. FRAZIER v. THE STATE
S20A0107. REID v. MORRIS et al.
S20A0119. SMITH v. THE STATE
S20A0167. DUNBAR v. THE STATE
S20A0181. RAINES v. THE STATE
S20A0216. BURNEY v. THE STATE
S20A0254. STEPP-McCOMMONS v. THE STATE
S20A0270. STRONG v. THE STATE
S20A0328. FRAZEN et al. v. DOWNTOWN DEVELOPMENT AUTHORITY OF ATLANTA et al.
S20A0404. BARBOZA v. THE STATE
S20A0444, S20X0445. PRIESTER v. THE STATE (and vice versa)
S20Y0957. IN THE MATTER OF DON SMART

June
June 16, 2020

S19G0447. FRETT v. STATE FARM EMPLOYEE WORKERS’&nbsp; COMPENSATION et al.
S19G0931. CROWDER v. THE STATE
S20A0064. HEARD v. THE STATE
S20A0125. SCOTT v. THE STATE
S20A0133. GLOVER v. THE STATE
S20A0134. MATHIS v. THE STATE
S20A0161. S&amp;S TOWING &amp; RECOVERY, LTD et al. v. CHARNOTA
S20A0177. REDDING V. THE STATE
S20A0191. THE STATE v. PAULDO
S20A0227, S20X0228. GARDHIGH v. THE STATE (and vice versa)
S20A0402. DOBBINS v. THE STATE
S20A0409. NEWMAN v. THE STATE
S20A0505. MEDINA v. THE STATE
S20A1277. TUMLINSON v. DIX
S20Z0712. IN THE MATTER OF JAMES CALEB CLARKE III

June
June 1, 2020

S19G0499. DALY et al. v. BERRYHILL et al.
S19G0967. THE STATE v. HEATH
S19G1000. GLOBAL PAYMENTS, INC. v. INCOMM FINANCIAL SERVICES, INC.
S20A0185. SHEALEY v. THE STATE
S20A0245. THOMPSON v. THE STATE
S20A0259. NEWTON v. THE STATE
S20A0355. STINCHCOMB v. THE STATE
S20A0410. TREADAWAY v. THE STATE
S20A0414. ROUZAN v. THE STATE
S20A0483. HAMILTON v. THE STATE
S20A0500. NORRIS v. THE STATE
S20A0536. LYONS v. THE STATE
S20A0857. DIXON v. THE STATE

May
May 18, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19G0426. MATHENIA et al. v. BRUMBELOW
S19G0802. NEW CINGULAR WIRELESS PCS, LLC et al. v. DEPARTMENT OF REVENUE et al.
S20A0039. JACKSON et al. v. RAFFENSPERGER
S20A0118. MAHAFFEY v. THE STATE
S20A0170. WALKER v. THE STATE
S20A0288. CARSON v. THE STATE
S20A0309. SULLIVAN v. THE STATE
S20A0343. HOOD v. THE STATE
S20A0457. JOHNSON v. WILLIAMS
S20A0482. HAMPTON v. THE STATE
S20A0504. THE STATE v. ROWE
S20Q0374. SAN MIGUEL PRODUCE, INC. v. L.G. HERNDON JR. FARMS, INC.
S20Y1078. IN THE MATTER OF HOWARD L. SOSNIK

May
May 14, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S20A1029, S20A1031. BARROW v. RAFFENSPERGER (two cases)

May
May 4, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S20A0007. EVANS v. THE STATE
S20A0022. CARTER v. THE STATE
S20A0103. ROSSER v. THE STATE
S20A0171. WHITEHEAD v. THE STATE
S20A0195. COLLINS v. THE STATE
S20A0217. DAWSON v. THE STATE
S20A0236. STYLES v. THE STATE
S20A0258. CLARKE v. THE STATE
S20A0285. HILL v. THE STATE
S20A0356. BURLEY v. THE STATE
S20A0489. OLIVER v. THE STATE
S20A0871. SPENCER v. THE STATE
S20Y1015. IN THE MATTER OF TIMOTHY PAUL HEALY

April
April 20, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S20A0006. KELLER v. THE STATE
S20A0056. SULLIVAN v. THE STATE
S20A0127. RICKMAN v. THE STATE
S20A0158. COLLINS v. THE STATE
S20A0176. MORRIS v. THE STATE
S20A0241. WILLIAMS v. THE STATE
S20A0247. TURNER v. THE STATE
S20A0265. ROBINSON v. THE STATE
S20A0344. MOORE v. THE STATE
S20A0364. MILLS v. THE STATE
S20A0380. VALRIE v. THE STATE
S20A0399. HEYWARD v. THE STATE
S20A0563. SANTANA v. THE STATE
S20A0819. HOWARD v. THE STATE
S20Y0754. IN THE MATTER OF D. DUSTON TAPLEY, JR.

April
April 8, 2020

S18Y1385. IN THE MATTER OF RICARDO L. POLK&nbsp; Reinstatement issued.

April
April 6, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19C1565. HOLZHEUSER v. THE STATE
S19G0473. SRM GROUP, INC. v. TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA
S20A0082. THE STATE v. HOLLAND
S20A0104. McGARITY v. THE STATE
S20A0153. DRESBACH v. THE STATE
S20A0159. ROSEBORO v. THE STATE
S20A0202. HATNEY v. THE STATE
S20A0218. HUDSON v. THE STATE
S20A0226. FRAZIER v. THE STATE
S20A0251. WATTS v. THE STATE
S20A0252. ENSSLIN v. THE STATE
S20A0268. HALL v. THE STATE
S20A0273. MARTIN v. THE STATE
S19Y1450. IN THE MATTER OF MATTHEW A. DICKASON
S20Y0209. IN THE MATTER OF MUHAMMAD ABDUL-WARIT ABDUR-RAHIM
S20Y0312. IN THE MATTER OF JARED MICHAEL ARRINGTON
S20Y0814. IN THE MATTER OF BARRY WAYNE ROREX 4-6-2020 Substitute opinion issued.
S20Y0815. IN THE MATTER OF ANDREW DAVID TAYLOR

March
March
March 26, 2020

S20Y0421. IN THE MATTER OF MARTA MARIA NORIEGA-ALLEN


March
March 13, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19A1130, S19X1131. THE STATE v. GATES (and vice versa)
S19A1163. WILLIAMS v. DEKALB COUNTY et al.
S19A1253. STUBBS v. HALL
S19A1410. THE STATE v. REMY
S19A1506. WATKINS v. BALLINGER
S20A0026. MATTOX v. THE STATE
S20A0027. WILSON v. THE STATE
S20A0058. GLENN v. THE STATE
S20A0115. MOORE v. THE STATE
S20A0173. BUNDEL v. THE STATE
S20A0214. CORLEY v. THE STATE
S20A0232. SIMMONS v. THE STATE
S20A0248. THE STATE v. GOFF
S20A0372. JONES v. THE STATE
S20Y0679. IN THE MATTER OF MARC CELELLO

February
February 28, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S18G1436. HILL, KERTSCHER &amp; WHARTON LLP et al. v. MOODY et al.
S19G0278. BOWEN et al. v. SAVOY et al.
S19G0422. DEPARTMENT OF PUBLIC SAFETY v. RAGSDALE
S19A1052, S19A1054. BAMBERG v. THE STATE
S19A1098. SMITH v. THE STATE
S19A1120. WESTBROOK v. THE STATE
S19A1341. SAWYER v. THE STATE
S19A1361. McELRATH v. THE STATE
S19A1363. THE STATE v. HAMILTON
S19A1403. WILKINS v. THE STATE
S19A1404. JOHNSON v. THE STATE
S19A1411. CALHOUN v. THE STATE
S19A1448. HOGAN v. THE STATE
S19A1474, S19A1475. DEBELBOT v. THE STATE (two cases)
S19A1496. HYDEN v. THE STATE
S19A1498. PARHAM v. STEWART
S19A1577. EDWARDS v. THE STATE
S19A1579. TOLBERT v. THE STATE
S19A1580. KILPATRICK v. THE STATE
S20Y0065, S20Y0066, S20Y0067. IN THE MATTER OF JULIANNE WESLEY HOLLIDAY


February
February 10, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S18G1549. LEE v. SMITH, II
S18G1638. COEN v. APTEAN, INC. et al.
S19G0005. THE STATE v. WILLIAMS
S19A1044. GITTENS v. THE STATE
S19A1145. THE STATE v. BRYANT
S19A1147. MITCHELL v. THE STATE
S19A1182. HOWELL v. THE STATE
S19A1203. CITY OF ATLANTA et al. v. ATLANTA INDEPENDENT SCHOOL SYSTEM
S19A1257. WHITE v. THE STATE
S19A1261. MORGAN v. THE STATE 2-10-2020 Substitute opinion issued.
S19A1299, S19X1300. DELOACH v. THE STATE (and vice versa) 3-13-2020 Substitute opinion issued.
S19A1330. MITCHELL v. THE STATE
S19A1424. THE STATE v. LANE
S19A1503. THOMAS v. THE STATE
S19A1520. WALKER v. THE STATE
S19A1571. NAPLES v. THE STATE
S19A1588. TAYLOR v. THE STATE
S19A1637. LONDON v. THE STATE
S20A0306. RICHARDSON v. THE STATE
S20Y0257. IN THE MATTER OF MELVIN T. JOHNSON

January
January 31, 2020

S18Y0350. IN THE MATTER OF CHRISTOPHER AARON CORLEY&nbsp; Reinstatement issued.

January
January 27, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19G0125. WILLIAMS v. THE STATE
S19G0394. DAVIS v. THE STATE
S19A1148. SMITH v. THE STATE
S19A1250. WILLIAMS v. THE STATE
S19A1256. MANN v. THE STATE
S19A1261. MORGAN v. THE STATE 2-10-2020 Substitute opinion issued.
S19A1266. ALLEN v. THE STATE
S19A1301. MOSLEY v. THE STATE
S19A1302. REDDING v. THE STATE
S19A1345, S19A1346. STEPHENS v. THE STATE (two cases)
S19A1397. MCCLUSKEY v. THE STATE
S19A1432. DAVIS v. THE STATE
S19A1476. TAYLOR v. THE STATE
S19A1492. RICH v. THE STATE 1-27-2020 Substitute opinion issued.
S19A1518. RAMMAGE v. THE STATE
S19A1570. JACKSON v. THE STATE
S19A1592. WELLS v. THE STATE

January
January 13, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19A1004. WHITE v. THE STATE
S19A1005. DOYLE v. THE STATE
S19A1079. THE STATE v. STEPHENS et al.
S19A1151. FLOWERS v. THE STATE
S19A1187. DAVIS v. THE STATE
S19A1284. GASTON v. THE STATE
S19A1298. DRIVER v. THE STATE
S19A1427. SWIMS v. THE STATE
S19A1493, S19A1494. FLOYD v. THE STATE
S19A1551. BANKSTON v. THE STATE
S19A1572. HARRIS v. THE STATE
S19A1573. CHAVEZ v. THE STATE
S19A1641. PERDOMO v. THE STATE
S19Y1650. IN THE MATTER OF RICHARD M. COLBERT
S20Y0434. IN THE MATTER OF DAVID GODLEY RIGDON


							
																													
	
						
					  
				  
				
				
								
					
		
					
	
		
			
				
																									
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Atlanta, Georgia 30334
Phone: (404) 656-3470
Fax: (404) 656-2253
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